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                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                             THE DISTRICT OF PUERTO RICO


   IN RE:                                  CASE NO. 18-05288-ESL11
    SKYTEC INC                             Chapter 11




   XX-XXXXXXX


                 Debtor(s)                      FILED & ENTERED ON FEB/27/2019



                                        ORDER


        The application for allowance of compensation filed by ALEXIS FUENTES

  HERNANDEZ, in the amount of $38,706.91 (Docket Entry #101), having been duly

  notified to all parties in interest, and no timely replies or objections having

  been filed, it is now


        ORDERED that said motion be and is hereby granted.


        In San Juan, Puerto Rico, this 27 day of February, 2019.
